                         UNITED STATES BANKRUPTCY COURT
                           EASTERN DISTRICT OF MICHIGAN



In The Matter of:                                                      Chapter 13
                                                                       16-43021-PJS
Warren J Williams                                                      Judge Shefferly
Debtor(s)
_________________________/


                                SUPPLEMENTAL EXHIBIT


Attached is a supplemental exhibit for the Motion for Relief from Stay and Waiving the FRBP

4001 (a)(3) Re: 11000 Warner Road, Concord, MI 49237 , that was filed on October 13, 2017,

docket # 88, regarding the above referenced case.




                                  SCHNEIDERMAN & SHERMAN, P.C.


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                                        Attorney for
                                        Specialized Loan Servicing LLC as servicer for
                                        The Bank of New York Mellon, f/k/a The Bank
                                        of New York, Successor in Interest to
                                        JPMorgan Chase Bank, N.A. as Trustee for
                                        Structured Asset Mortgage Investments II INC.,
                                        Bear Stearns ALT -A Trust, Mortgage Pass-
                                        Through Certificates, Series 2005-7
                                        23938 Research Drive, Suite 300
                                        Farmington Hills, Michigan 48335
                                        248-539-7400




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